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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                          No. 21-cr-116 (DLF)
 WILLIAM MCCALL CALHOUN, JR.,

                Defendant.



       For the reasons stated in the oral ruling on March 20, 2023, based on the evidence presented

in the record, the Court finds the defendant, William McCall Calhoun, Jr., GUILTY beyond a

reasonable doubt on all charges in the Superseding Indictment, Dkt. 83, namely:

       As to the charge of attempting to and in fact corruptly obstructing, influencing, and

impeding an official proceeding, that is, a proceeding before Congress, specifically, Congress’s

certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution

of the United States and 3 U.S.C. § 15–18, in violation of 18 U.S.C. §§ 1512(c) and 2;

       As to the charge of knowingly entering and remaining in a restricted building and grounds,

that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President was temporarily visiting, without lawful authority to do

so, in violation of 18 U.S.C. § 1752(a)(1);

       As to the charge of knowingly, and with intent to impede and disrupt the orderly conduct

of Government business and official functions, engaging in disorderly and disruptive conduct in

and within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, when and so that such conduct did in fact impede and disrupt


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the orderly conduct of Government business and official functions, in violation of 18 U.S.C.

§ 1752(a)(2);

       As to the charge of willfully and knowingly engaging in disorderly and disruptive conduct

within the United States Capitol Grounds and in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress, in violation of 40 U.S.C. § 5104(e)(2)(D);

       As to the charge of willfully and knowingly parading, demonstrating, and picketing in any

United States Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G).

       SO ORDERED.




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                                                            DABNEY L. FRIEDRICH
March 20, 2023                                              United States District Judge




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